      Case 3:24-cv-07705-AMO    Document 68-1    Filed 03/13/25   Page 1 of 2




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     NECICF II GP, LLC
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11                         UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA
13

14   LACUNA SUSTAINABLE INVESTMENTS,           Case No. 3:24-cv-7705
     LLC; LACUNA SUSTAINABLE PARTNERS,
15   LLC; LACUNA PROJECT INVESTMENTS, LLC; [PROPOSED] ORDER GRANTING
16   LACUNA PROJECT INVESTMENTS II, LLC.       DEFENDANTS VICTORY CAPITAL
                                               MANAGEMENT INC. AND NECICF II
17                  Plaintiffs,                GP, LLC’S ADMINISTRATIVE
                                               MOTION FOR RELIEF FOR PRO HAC
18       vs.                                   VICE COUNSEL SAMEER NITANAND
                                               ADVANI TO APPEAR REMOTELY BY
19   PATRICK FOX; BENNETT COLLIER;             ZOOM AT HEARING ON PLAINTIFFS’
20   VICTORY CAPITAL MANAGEMENT, INC.;         MOTION FOR PRELIMINARY
     CURT WHITTAKER; RATH, YOUNG, AND          INJUNCTION ON MARCH 20, 2025
21   PIGNATELLI, P.C.; NECICF II GP, LLC; MARK
     LERDAL; and DOES 1-10, inclusive,         Date: March 20, 2025
22                                             Time: 2:00 PM
                    Defendants.                Ctrm: 10, 19th Floor- San Francisco
23                                             Judge: Hon. Araceli Martínez Olguín
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          [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION FOR RELIEF
        TO APPEAR REMOTELY BY ZOOM AT HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                     Case No. 3:24-cv-7705
      Case 3:24-cv-07705-AMO         Document 68-1      Filed 03/13/25     Page 2 of 2




 1          Pursuant to Civil Local Rules 7-11 and 7-12 and the Court’s Standing Order, Defendants

 2   Victory Capital Management Inc. (“Victory”) and NECICF II GP, LLC’s Administrative Motion

 3   for Relief for Pro Hac Vice Counsel, Sameer Nitanand Advani, to Appear Remotely by Zoom at the

 4   Hearing on Plaintiffs’ Motion for Preliminary Injunction on March 20, 2025 is hereby GRANTED.

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 6   IT IS SO ORDERED.

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 9   DATED: ____________, 2025

10                                                   __________________________________
                                                     HON. ARACELI MARTÍNEZ-OLGUÍN
11                                                   UNITED STATES DISTRICT JUDGE
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                                               1
          [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION FOR RELIEF
        TO APPEAR REMOTELY BY ZOOM AT HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                     Case No. 3:24-cv-7705
